Case 1:11-cv-00559-WMS Document 19-85 Filed 07/26/11 Page 1 of 3

wioo-JauUTpror@yoldwalel © O88F-ZOF-9ILXeY + P8OS-OIEOIL « ZZTHI FOR MON ‘OpEYMG 2 snuAAy puelysy 7/

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Case 1:11-cv-00559-WMS Document 19-85 Filed 07/26/11 Page 2 of 3

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Case 1:11-cv-00559-WMS Document 19-85 Filed 07/26/11 Page 3 of 3

Power ar y

District Population Deviation % Deviation White % White Black % black Amindian %Amindian Asian % Asian Hawaiian %Hawalian Other % Other Hispanic % hispanic
1 84232 683 0.82% 80210 95.23% 1528 1.81% 306 0.36% 517 0.61% 43 0.02% 639 0.76% 2646 3.14%
2 84710 1161 1.39% 35006 41.32% 34821 = 41.11% 868 1.02% 4538 5.36% 63 0.07% 6344 7.49% 15467 18.26%
3 84686 1137 1.36% 79073 93.37% 2556 3.02% 306 0.36% 511 0,60% 14 0.02% 871 1.03% 3434 4,06%
4 83637 88 0.11% 78029 93.29% 1583 1.89% 2289 2.74% 509 0.61% 16 0.02% 383 0.46% 1799 2.14%
5 81820 -1729 -2.07% 77588 94.83% 1658 2.03% 255 0.31% 1326 1.62% 14 0.02% 256 0.31% 1069 1.31%
6 81931 ~1618 -1.94% 74829 91.33% 3242 3.96% 154 0.19% 2259 2.76% 10 0.01% 325 0.40% 1558 1.90%
7 81979 -1570 -1,.88% 68041 83.00% 4170 5.09% 151 0.18% 7663 9.35% 16 0.02% 452 0.55% 1899 2.32%
8 84069 520 0.62% 20428 24.30% 58094 69.10% 244 0.29% 2279 2.71% 27 0,03% 859 1.02% 3065 3.65%
9 82175 -1374 -1.64% 74821 91.05% 4339 5.28% 201 0.24% 1245 1.52% 13 0.02% 376 0.46% 1617 1.97%

10 84926 1377 1.65% 67809 79.84% 9611 11.32% 772 0.91% 1900 2.24% 28 0.03% 2442 2.88% 6958 8.19%

11 84875 1326 1.59% 79410 93.56% 2329 2.74% 362 0.43% 1042 1.23% 5 0.01% 480 0.57% 2228 2.63%
18+ Pop) 18+ Bik %18+Bik 18+ Wht %18tWht 18+Hisp % 18+Hisp
1 66671 966 1.45% 64250 96.37% 1528 2.29%
2 63866 25099 39.30% 29498 46.19% 9875 15.46%
3 65661 1700 2.59% 62196 94.72% 2107 3.21%
4 65069 1441 2.21% 61037 93.80% 1227 1.89%
5 62947 1488 2.36% 59870 95.11% 689 1.09%
6 64289 2256 3.51% 59373 92.35% 946 1.47%
7 65895 3130 4.75% 55187 83.75% 1285 1.95%
8 62211 A0439 65.00% 17740 = - 28.52% 1880 3.02%
3 67271 3011 448% 62349 92.75% 946 1.41%
10 67782 6989 10.31% 56151 82.84% 4225 6.23%
11 68484 1627 2.38% 64921 94.80% 1308 1.91%

